Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 1 of 8 Page ID #:1




 1     CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
 4     San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
 5     amandas@potterhandy.com
 6     Attorneys for Plaintiff
 7
 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                             Case No.

12               Plaintiff,
                                                  Complaint For Damages And
13       v.                                       Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
14     RLZ Westside, LLC, a California            Act; Unruh Civil Rights Act
       Limited Liability Company;
15     Carwash Operators, LLC, a
       California Limited Liability
16     Company

17               Defendants.

18
19         Plaintiff Brian Whitaker complains of RLZ Westside, LLC, a California

20   Limited Liability Company; Carwash Operators, LLC, a California Limited

21   Liability Company; and alleges as follows:

22
23     PARTIES:

24     1. Plaintiff is a California resident with physical disabilities. He is

25   substantially limited in his ability to walk. He suffers from a C-4 spinal cord

26   injury. He is a quadriplegic. He uses a wheelchair for mobility.

27     2. Defendant RLZ Westside, LLC owned the real property located at or

28   about 2001 S Sepulveda Blvd, Los Angeles, California, in October 2020.


                                            1

     Complaint
Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 2 of 8 Page ID #:2




 1     3. Defendant RLZ Westside, LLC owns the real property located at or
 2   about 2001 S Sepulveda Blvd, Los Angeles, California, currently.
 3     4. Defendant Carwash Operators, LLC owned Sepulveda West Car Wash
 4   located at or about 2001 S Sepulveda Blvd, Los Angeles, California, in October
 5   2020.
 6     5. Defendant Carwash Operators, LLC owns Sepulveda West Car Wash
 7   (“Car Wash”) located at or about 2001 S Sepulveda Blvd, Los Angeles,
 8   California, currently.
 9     6. Plaintiff does not know the true names of Defendants, their business
10   capacities, their ownership connection to the property and business, or their
11   relative responsibilities in causing the access violations herein complained of,
12   and alleges a joint venture and common enterprise by all such Defendants.
13   Plaintiff is informed and believes that each of the Defendants herein is
14   responsible in some capacity for the events herein alleged, or is a necessary
15   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
16   the true names, capacities, connections, and responsibilities of the Defendants
17   are ascertained.
18
19     JURISDICTION & VENUE:
20     7. The Court has subject matter jurisdiction over the action pursuant to 28
21   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
22   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
23     8. Pursuant to supplemental jurisdiction, an attendant and related cause
24   of action, arising from the same nucleus of operative facts and arising out of
25   the same transactions, is also brought under California’s Unruh Civil Rights
26   Act, which act expressly incorporates the Americans with Disabilities Act.
27     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
28   founded on the fact that the real property which is the subject of this action is


                                            2

     Complaint
Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 3 of 8 Page ID #:3




 1   located in this district and that Plaintiff's cause of action arose in this district.
 2
 3
 4     FACTUAL ALLEGATIONS:
 5     10. Plaintiff went to the Car Wash in October 2020 with the intention to
 6   avail himself of its goods or services and to assess the business for compliance
 7   with the disability access laws.
 8     11. The Car Wash is a facility open to the public, a place of public
 9   accommodation, and a business establishment.
10     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
11   to provide wheelchair accessible sales counters in conformance with the ADA
12   Standards as it relates to wheelchair users like the plaintiff.
13     13. The Car Wash provides sales counters to its customers but fails to
14   provide any wheelchair accessible sales counters.
15     14. A problem that plaintiff encountered was that the sales counter was too
16   high and there was no lowered portion of the sales counter suitable for
17   wheelchair users.
18     15. Plaintiff believes that there are other features of the sales counters that
19   likely fail to comply with the ADA Standards and seeks to have fully compliant
20   sales counters for wheelchair users.
21     16. On information and belief, the defendants currently fail to provide
22   wheelchair accessible sales counters.
23     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
24   provide wheelchair accessible restrooms in conformance with the ADA
25   Standards as it relates to wheelchair users like the plaintiff.
26     18. The Car Wash provides restrooms to its customers but fails to provide
27   any wheelchair accessible restrooms.
28     19. A few problems that plaintiff encountered was that the restroom sinks


                                               3

     Complaint
Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 4 of 8 Page ID #:4




 1   had cabinet style sinks that did not provide any knee clearance for wheelchair
 2   users. Additionally, the paper towel dispensers, restroom mirrors and sinks
 3   were too high.
 4     20. Plaintiff believes that there are other features of the restrooms that
 5   likely fail to comply with the ADA Standards and seeks to have fully compliant
 6   restrooms for wheelchair users.
 7     21. On information and belief, the defendants currently fail to provide
 8   wheelchair accessible restrooms.
 9     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
10   personally encountered these barriers.
11     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
12   wheelchair accessible facilities. By failing to provide accessible facilities, the
13   defendants denied the plaintiff full and equal access.
14     24. The failure to provide accessible facilities created difficulty and
15   discomfort for the Plaintiff.
16     25. The defendants have failed to maintain in working and useable
17   conditions those features required to provide ready access to persons with
18   disabilities.
19     26. The barriers identified above are easily removed without much
20   difficulty or expense. They are the types of barriers identified by the
21   Department of Justice as presumably readily achievable to remove and, in fact,
22   these barriers are readily achievable to remove. Moreover, there are numerous
23   alternative accommodations that could be made to provide a greater level of
24   access if complete removal were not achievable.
25     27. Plaintiff will return to the Car Wash to avail himself of its goods or
26   services and to determine compliance with the disability access laws once it is
27   represented to him that the Car Wash and its facilities are accessible. Plaintiff
28   is currently deterred from doing so because of his knowledge of the existing


                                             4

     Complaint
Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 5 of 8 Page ID #:5




 1   barriers and his uncertainty about the existence of yet other barriers on the
 2   site. If the barriers are not removed, the plaintiff will face unlawful and
 3   discriminatory barriers again.
 4     28. Given the obvious and blatant nature of the barriers and violations
 5   alleged herein, the plaintiff alleges, on information and belief, that there are
 6   other violations and barriers on the site that relate to his disability. Plaintiff will
 7   amend the complaint, to provide proper notice regarding the scope of this
 8   lawsuit, once he conducts a site inspection. However, please be on notice that
 9   the plaintiff seeks to have all barriers related to his disability remedied. See
10   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
11   encounters one barrier at a site, he can sue to have all barriers that relate to his
12   disability removed regardless of whether he personally encountered them).
13
14   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
15   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
16   Defendants.) (42 U.S.C. section 12101, et seq.)
17     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint.
20     30. Under the ADA, it is an act of discrimination to fail to ensure that the
21   privileges, advantages, accommodations, facilities, goods and services of any
22   place of public accommodation is offered on a full and equal basis by anyone
23   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
24   § 12182(a). Discrimination is defined, inter alia, as follows:
25             a. A failure to make reasonable modifications in policies, practices,
26                or procedures, when such modifications are necessary to afford
27                goods,     services,     facilities,   privileges,    advantages,      or
28                accommodations to individuals with disabilities, unless the


                                               5

     Complaint
Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 6 of 8 Page ID #:6




 1               accommodation would work a fundamental alteration of those
 2               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3            b. A failure to remove architectural barriers where such removal is
 4               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 5               defined by reference to the ADA Standards.
 6            c. A failure to make alterations in such a manner that, to the
 7               maximum extent feasible, the altered portions of the facility are
 8               readily accessible to and usable by individuals with disabilities,
 9               including individuals who use wheelchairs or to ensure that, to the
10               maximum extent feasible, the path of travel to the altered area and
11               the bathrooms, telephones, and drinking fountains serving the
12               altered area, are readily accessible to and usable by individuals
13               with disabilities. 42 U.S.C. § 12183(a)(2).
14     31. When a business provides facilities such as sales or transaction counters,
15   it must provide accessible sales or transaction counters.
16     32. Here, accessible sales or transaction counters have not been provided in
17   conformance with the ADA Standards.
18     33. When a business provides facilities such as restrooms, it must provide
19   accessible restrooms.
20     34. Here, accessible restrooms have not been provided in conformance with
21   the ADA Standards.
22     35. The Safe Harbor provisions of the 2010 Standards are not applicable
23   here because the conditions challenged in this lawsuit do not comply with the
24   1991 Standards.
25     36. A public accommodation must maintain in operable working condition
26   those features of its facilities and equipment that are required to be readily
27   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
28     37. Here, the failure to ensure that the accessible facilities were available


                                            6

     Complaint
Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 7 of 8 Page ID #:7




 1   and ready to be used by the plaintiff is a violation of the law.
 2
 3   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 4   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 5   Code § 51-53.)
 6      38. Plaintiff repleads and incorporates by reference, as if fully set forth
 7   again herein, the allegations contained in all prior paragraphs of this
 8   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 9   that persons with disabilities are entitled to full and equal accommodations,
10   advantages, facilities, privileges, or services in all business establishment of
11   every kind whatsoever within the jurisdiction of the State of California. Cal.
12   Civ. Code §51(b).
13      39. The Unruh Act provides that a violation of the ADA is a violation of the
14   Unruh Act. Cal. Civ. Code, § 51(f).
15      40. Defendants’ acts and omissions, as herein alleged, have violated the
16   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
17   rights to full and equal use of the accommodations, advantages, facilities,
18   privileges, or services offered.
19      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
20   discomfort or embarrassment for the plaintiff, the defendants are also each
21   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
22   (c).)
23
24             PRAYER:
25             Wherefore, Plaintiff prays that this Court award damages and provide
26   relief as follows:
27           1. For injunctive relief, compelling Defendants to comply with the
28   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the


                                              7

     Complaint
Case 2:20-cv-09638-SB-JEM Document 1 Filed 10/21/20 Page 8 of 8 Page ID #:8




 1   plaintiff is not invoking section 55 of the California Civil Code and is not
 2   seeking injunctive relief under the Disabled Persons Act at all.
 3       2. Damages under the Unruh Civil Rights Act, which provides for actual
 4   damages and a statutory minimum of $4,000 for each offense.
 5       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 6   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 7
     Dated: October 20, 2020          CENTER FOR DISABILITY ACCESS
 8
 9
                                      By:
10
11                                    _______________________

12                                           Russell Handy, Esq.
                                             Attorney for plaintiff
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            8

     Complaint
